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                                                                                FILED
                  IN THE UNITED STATES DISTRICT COURT                            DEC 0 B2016
                      FOR THE DISTRICT OF MONTANA                            Clefk, US .
                           MISSOULA DIVISION                                   District o~;J,trict Court
                                                                                    Missou/~ntana


 UNITED STATES OF AMERICA,                            CR 16-27-M-DLC

                     Plaintiff,
                                                     FINDINGS AND
        vs.                                        RECOMMENDATION
                                                   CONCERNING PLEA

 PRESTON FREDERICK LAHMER,

                     Defendant.




      The Defendant, by consent, has appeared before me under Fed. R. Crim. P.

11 and has entered a plea of guilty to one count of the possession with the intent to

distribute 3,4-methylenedioxymethamphetamine, commonly referred to as

"MDMA" and "ecstasy," a Schedule I controlled substance, aiding and abetting, in

violation of21 U.S.C. §§ 2 and 841(a)(l), as set forth in County IV of the

Indictment. In exchange for Defendant's plea, the United States has agreed to

dismiss Count I of the Indictment.

      After examining the Defendant under oath, I have made the following

determinations:

      1. That the Defendant is fully competent and capable of entering an

informed and voluntary plea,

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      2. That the Defendant is aware of the nature of the charge against him and

consequences of pleading guilty to the charge,

      3. That the Defendant fully understands his constitutional rights, and the

extent to which he is waiving those rights by pleading guilty, and

      4. That the plea of guilty is a knowing and voluntary plea, supported by an

independent basis in fact sufficient to prove each of the essential elements of the

offense charged.

      The Court further concludes that the Defendant had adequate time to review

the Plea Agreement with counsel, that he fully understands each and every

provision of the agreement and that all of the statements in the Plea Agreement are

true. Therefore, I recommend that the Defendant be adjudged guilty of Count IV

of the Indictment, and that sentence be imposed. I further recommend that Count I

of the Indictment be dismissed.

      This report is forwarded with the recommendation that the Court defer

a decision regarding acceptance until the Court has reviewed the Plea

Agreement and the presentence report.

      DATED this 8th day of December



                                          e iah C. Lynch
                                           ted States Magistrate Judge


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